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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §    CASE NO: 3:07-CR-168-L
                                                 §
FRANCISCO LAGUNA (03)                            §

                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE
                         CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea

of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge (“Report”), and no objections thereto having been filed

within ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge

determines that the Report of the Magistrate Judge concerning the Plea of Guilty should be accepted.

Based upon the Report of the Magistrate Judge, the court finds that the defendant is fully competent

and capable of entering an informed plea, that he is aware of the nature of the charge and the

consequences of the plea, and that his plea of guilty is a knowing and voluntary plea, supported by

an independent basis in fact, containing each of the essential elements of the offense. Accordingly,

the court accepts the plea of guilty entered by Defendant Francisco Laguna on June 11, 2009, and he

is hereby adjudged guilty of the offense charged in the single-count Indictment, which is a violation

of 21 U.S.C. § 846, namely, Conspiracy to Possess with Intent to Distribute and to Distribute a

Controlled Substance. Sentence will be imposed in accordance with the court's scheduling order.




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        It is so ordered this 30th day of June, 2009.




                                                        _________________________________
                                                        Sam A. Lindsay
                                                        United States District Judge




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